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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION

 UNITED STATES of AMERICA                                             PLAINTIFF/RESPONDENT

        V.                              No. 5:11-CV-05211-JLH
                                        No. 5:09-CR-50103-JLH

 MANUEL A. GAXIOLA                                                   DEFENDANT/PETITIONER


                            REPORT AND RECOMMENDATION


        Before the undersigned for report and recommendation is the petitioner's Habeas Corpus

 Petitions, See ECF No. 79 filed September 6, 2011, under 28 U.S.C. Section 2255. The

 Government filed its Response, See ECF No.81 on September 26, 2011, and the Petitioner filed

 his Reply, See ECF No. 83 on October 7, 2011. The matter is now ready for a Report and

 Recommendation.

                                          I. Background

        On September 16, 2009, a criminal complaint was filed against Manuel A. Gaxiola

 (hereinafter Gaxiola), charging him with conspiracy to distribute and distribution of

 methamphetamine. (ECF No.1). Gaxiola was arrested on September 17, 2009. (ECF No. 2) On

 November 4, 2009, an indictment was returned against Gaxiola charging him with

 conspiracy to distribute methamphetamine (count1), distribution of methamphetamine(count 2),

 three counts of distribution of more than 5 grams of actual methamphetamine (counts 3,5,6) and

 distribution of more than 50 grams of actual methamphetamine (count 7). (ECF No.14). On

 January 6, 2010, pursuant to a Plea Agreement (ECF No. 39), Gaxiola pled guilty to count 7,



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 distribution of more than 50 grams of actual methamphetamine. (Docket Entry 38).

        On May 24, 2010, a sentencing hearing was held. (ECF No. 50) The PSR assessed

 Gaxiola a two point enhancement pursuant to U.S.S.G. § 3B1.1(c) for being an organizer, leader,

 manager, or supervisor in the criminal activity. (PSR ¶ 50) The PSR determined that Gaxiola was

 in criminal history category I and had a final offense level of 31 which would have resulted in an

 advisory guideline range of 108 - 135 months. However, because the mandatory minimum

 sentence for the offense for which Gaxiola plead guilty was 120 months and because Gaxiola did

 not qualify for the safety valve provision, the PSR determined the advisory guideline range to be

 120 -135 months. (PSR ¶ 77)

        Although Gaxiola did not object to the facts set forth in the PSR, he did object to

 paragraph 50 of the PSR which assessed a two point enhancement pursuant to U.S.S.G. §

 3B1.1(c). (Addendum to PSR Objections 1) Gaxiola also asserted that, but for the role in the

 offense enhancement, he would have qualified for the safety valve provision of U.S.S.G.§5C1.2.

 (Addendum to PSR Objections 2).

        At the sentencing hearing, Gaxiola acknowledged that his objections to the PSR were not

 to any of the facts contained in the PSR but were legal arguments as to the proper application of

 the Guidelines. (Sen.Tr. 18-19.) Gaxiola, citing Blakely v. Washington and Apprendi, argued that

 the court should apply a beyond a reasonable doubt standard in determining whether he should be

 assessed a two level enhancement pursuant to U.S.S.G. § 3B1.1(c) and not a preponderance of

 the evidence standard. (Sen.Tr. 21)

        The District Court held that because the Supreme Court’s ruling in Booker and Fanfan,

 eliminated the mandatory nature of the sentencing guidelines, the court need not apply a beyond a


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 reasonable doubt standard in determining facts that moved the guidelines up or down. (Sen.Tr.

 33) The District Court found that there was more than ample evidence in the unobjected to facts

 of the PSR to support the two level enhancement pursuant to U.S.S.G. § 3B1.1(c) for Gaxiola

 being a manager, organizer, or leader. (Sen.Tr. 34 and 35) The District Court also found the

 safety valve provision did not apply. (Sen.Tr. 37)

        Gaxiola was sentenced to 120 months imprisonment, 5 years supervised release, a

 $25,000 fine, and a $100 special assessment. (ECF No. 56). This sentence was at the bottom of

 the guideline and was the required mandatory minimum sentence for the offense to which

 Gaxiola plead guilty. On May 26, 2010, Gaxiola filed a notice of appeal. (ECF No.66). On March

 30, 2011, the Eighth Circuit entered its Judgement affirming the district court’s sentence finding

 that a two level leadership enhancement was warranted and that leadership enhancement

 precluded Gaxiola from receiving safety valve relief. See United States v. Gaxiola, 414 Fed.

 Appx. 889 ( 8th Cir. 2011). On September 6, 2011, Barajas filed this instant Motion under 28

 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody (ECF

 No.79).

                                          II. Discussion

        The Defendant contends that his attorney was ineffective for failing to argue that the

 Government breached the plea agreement entered into between the Government and the

 Defendant. (ECF No. 79, p. 4). The Defendant states that “his sentence was improperly

 enhanced with 2-level base in his leadership role in the offense, because the plea agreement did

 not states that a 2-level enhancement would be imposed, and the government advocated for an

 increase under USSG § 3B1.1(c), in violation of Petitioner’s Due Process Rights”. (Id.).


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 A. Ineffective Assistance Generally:

        The Sixth Amendment of the Constitution of the United States affords a criminal

 defendant with the right to assistance of counsel. U.S. Const. amend. VI. The Supreme Court

 “has recognized that ‘the right to counsel is the right to effective assistance of counsel.’ “

 Strickland v. Washington, 466 U.S. 668, 698, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984) (citing

 McMann v. Richardson, 397 U.S. 759, 771, n. 14, 90 S.Ct. 1441, 25 L.Ed.2d 763 (1970)).

        A defendant “faces a heavy burden” to establish ineffective assistance of counsel

 pursuant to § 2255. DeRoo v. United States, 223 F.3d 919, 925 (8th Cir. 2000); 2254. Cox v.

 Wyrick, 642 F.2d 222, 226 (C.A.Mo., 1981) To establish a claim of ineffective assistance of

 counsel, the Defendant must satisfy the two-part test set forth in Strickland v. Washington, 466

 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984).

        First, under the “deficient performance” component, he must show that his counsel “made

 errors so serious that counsel was not functioning as the 'counsel' guaranteed [him] by the Sixth

 Amendment.” Strickland, 466 U.S. at 687. That showing can be made by demonstrating that

 counsel's performance “fell below an objective standard of reasonableness.” Wiggins v. Smith,

 539 U.S. 510, 522, 123 S.Ct. 2527, 156 L.Ed.2d 471 (2003)(internal citations omitted.

        Second, under the “prejudice” component, he must demonstrate that “there is a

 reasonable probability that, but for counsel's unprofessional errors, the result of the proceeding

 would have been different.” Id. at 694. see also, i.e. United States v Ledezma-Rodriguez, 423

 F.3d 830, 836 (8th Cir. 2005)(post-conviction relief will not be granted on a claim of ineffective

 assistance of trial counsel unless the petitioner can show not only that counsel's performance was

 deficient but also that such deficient performance prejudiced his defense).


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        To satisfy this “prejudice” prong, Defendant must show “that there is a reasonable

 probability that, but for counsel’s unprofessional errors, the result of the proceeding would have

 been different . . . a reasonable probability [meaning] a probability sufficient to undermine

 confidence in the outcome.” U.S. v. Rice, 449 F.3d 887 at 897 (internal quotations omitted).

 Thus, it is not sufficient for a defendant to show that the error had some “conceivable effect” on

 the result of the proceeding because not every error that influences a proceeding undermines the

 reliability of the outcome of the proceeding. Morales v. Ault, 476 F.3d 545 (8th Cir.2007) (citing

 Odem v. Hopkins, 382 F.3d 846, 851 (8th Cir.2004)). Additionally, actual prejudice does not

 exist where a petitioner, at best, suffers the mere possibility of prejudice. See Wainwright v.

 Torna, 455 U.S. 586, 587-88 (1982); Prewitt v. United States, 83 F.3d 812, 819 (7th Cir.1996)

 (mere possibility does not equal actual prejudice). Although the two prongs of the “ineffective

 assistance” analysis are described as sequential, courts “do not . . . need to address the

 performance prong if petitioner does not affirmatively prove prejudice.” Boysiewick v. Schriro,

 179 F.3d 616, 620 (8th Cir.1999).

        Also, to the extent that Petitioner’s claims arise out the plea process, he must show a

 reasonable probability that, but for counsel’s errors, he would not have pled guilty and would

 have insisted on going to trial. See Strickland, 466 U.S. at 688; United States v. Prior, 107 F.3d

 654, 661 (8th Cir. 1997).

 B. Plea Agreement

        The Defendant contends that there was not a “statement about his role as a organizer or

 leader in the plea agreement” and that the government “breached the agreement by advocating for




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 a sentence enhancement under U.S.S.G. § 3B1.1(c)” 1 (ECF No. 79, p. 19).

          Plea agreements are contractual in nature and should be interpreted according to general

 contractual principles. See United States v. DeWitt, 366 F.3d 667, 669 (8th Cir.2004). Due

 process may be violated if there is a breach of a promise that induced a guilty plea.” United

 States v. Sanchez, 508 F.3d 456, 460 (8th Cir.2007) (internal citation omitted). “The party

 asserting the breach-here, the Defendant-has the burden of establishing a breach.” United States

 v. Smith, 429 F.3d 620, 630 (6th Cir.2005). Where a plea agreement is ambiguous, the

 ambiguities are construed against the government. United States v. Andis, 333 F.3d 886, 890 (8th

 Cir.2003) (en banc). Allowing the government to breach a promise that induced a guilty plea

 violates due process.

          In the Plea Agreement (ECF No.39), the government agreed to dismiss the remaining

 counts of the indictment once the court had pronounced sentence. ( Plea Agreement p. 1 ¶ 1) The

 Plea Agreement contained a section entitled “Concessions by the Government” which provided

 as follows:

          “The government agrees to recommend that the defendant be sentenced within the
          applicable guideline range as determined by the court.” ( Plea Agreement p. 6 ¶
          14) “The government agrees not to object to a finding by the probation office or a
          ruling of the court which awards the defendant an appropriate-level decrease in
          the base offense level for acceptance of responsibility. If the offense level in the
          Presentence Report is 16 or greater, and the Presentence Report awards two points
          for acceptance of responsibility, the United States agrees to move for an additional
          one-point reduction for acceptance of responsibility for a total of three points.” (
          Plea Agreement p. 6 ¶ 15).

          The Plea Agreement contained a section entitled “ Relevant Conduct Considered” which



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           Under § 3B1.1(c), a defendant's offense level is increased by two levels if “the defendant was an organizer,
 leader, manager, or supervisor in any criminal activity.” U.S.S.G. § 3B1.1(c).

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 provided as follows:

           “At the sentencing hearing, the government will be permitted to bring to the
           Court's attention, and the Court will be permitted to consider, all relevant
           information with respect to defendant's background, character and conduct,
           including the conduct that is the subject of this investigation for which he has not
           been charged up to the date of this Agreement, and/or which is the basis for any of
           the counts which will be dismissed pursuant to this agreement, as provided by §
           1B1.3 of the Sentencing Guidelines.” ( Plea Agreement p. 5 ¶ 12)

           The Plea Agreement is silent on the issue of role enhancement and does not provide that

 the Defendant would receive any specific sentence. There is no breach of a plea agreement when

 the government seeks a 2-level role enhancement when the agreement is silent in that regard. See

 United States v. Cheek, 69 F.3d 231(8th Cir. 1995); See also United States v. Kramer, 12 F.3d

 130, 131-32 (8th Cir.1993), cert. denied, 511 U.S. 1059, 114 S.Ct. 1629, 128 L.Ed.2d 352

 (1994).

           Also, in United States v. Peck, 496 F.3d 885, 889 (8th Cir.2007), the court found that the

 government did not breach its promise not to file additional charges when it sought sentencing

 enhancements based on additional crimes where the plea agreement was silent on the question of

 enhancement. Similarly, the government did not breach a Minnesota plea agreement, which was

 silent on the question of additional charges, when it prosecuted Van Nguyen in Iowa for a

 separate conspiracy. U.S. v. Nguyen 608 F.3d 368, 374 (C.A.8 (Iowa),2010).

           As the 8th Circuit Court of Appeals found “[W]e also see no clear error in the district

 court's finding that Gaxiola was subject to the § 3B1.1(c) leadership enhancement. According to

 the unobjected to information in the presentence investigation report, Gaxiola told an undercover

 officer that he was the boss of one of his codefendants and he directed another codefendant to

 make a delivery of methamphetamine on his behalf. See United States v. Bewig, 354 F.3d 731,


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 738 (8th Cir.2003) (defendant need only have supervised one other participant in criminal

 activity to justify leadership enhancement)”. U.S. v. Gaxiola, 414 Fed.Appx. 889, 891, 2011 WL

 1135756, 1 (C.A.8 (Ark. (C.A.8 (Ark.),2011).

        The Defendant contends that paragraph 11 of the Plea Agreement proves that the parties

 had “discussions” concerning the plea agreement. The paragraph in total reads as follows:

            The defendant acknowledges that discussions have taken place concerning
            the possible guideline range which might be applicable to this case. The
            defendant agrees that any discussions merely attempt to guess at what
            appears to be the correct guideline range and do not bind the district court.
            Further, the defendant acknowledges that the actual range may be greater
            than contemplated by the parties. In the event that the actual guideline
            range is greater than the parties expected, the defendant agrees that this
            does not give him the right to withdraw his plea of guilty.

        There is no specific recommendation in this language of a particular term but only that

 any discussions conducted were an attempt to “guess” at what appears to be the range. The

 Defendant does not contend that any U.S. Attorney or his defense counsel or the court made any

 specific promises to him.

        The Defendant cites United States v. Austin in support of his proposition that the

 Government breached the plea agreement. In Austin as here the plea agreement was silent as to

 the “propriety or applicability “of any 3B1.1 enhancement. In a prior agreement the Government

 had specifically specified that Austin would be subject to a four-level enhancement. The

 Defendant objected and the Government removed that provision from the plea agreement.

 Austin then contended that since the provision was removed from the prior agreement and not

 mentioned in the executed plea agreement that the Government was precluded from seeking any

 enhancement. The Court of Appeals found that the “District Court properly applied a two-level



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 enhancement for Austin’s supervisory or managerial role in the Oak Street Posse”. See U.S. v.

 Austin, 255 F.3d 593, 598 (C.A.8 (Ark.),2001). Rather than support the Defendant’s contention

 this case supports the Government.

         The Defendant also cited U.S. v. Fowler, 445 F.3d 1035 (C.A. 8(Mo), 2006 however the

 plea agreement in the Fowler provided “ the applicable base offense*1037 level for the conduct,

 and what enhancements applied. ( Id. at 6-7). This section concluded, “[b]ased on these

 recommendations, the parties estimate that the Total Offense Level is 25.” At sentencing the

 U.S. Attorney argued for enhancements that placed the Total Offense Level to 29. The Court of

 Appeal reversed and remanded based on the explicit recommendation of an offense level. Such

 is not the case here.

         The Defendant also cited U.S. v. Gonczy, 357 F.3d 50 (C.A. 1 (Mass), 2004 however

 under that plea agreement “the government was obligated to recommend “incarceration at the

 low end of the [United States Sentencing] [G]uideline[s] range calculated by the court ....,”

 although the agreement specified that such recommendation was not binding on the district

 court.” The AUSA then at the sentencing hearing stated that Gonczy was the “brains” behind the

 operation, he ruined many lives, and that what he did was blatant fraud.” *53. The District

 Judge sentenced Gonczy at the upper end of the sentencing guidelines. The court of appeals felt

 the AUSA’s argument went beyond the plea agreement and reversed. The facts in Gonczy are

 not comparable to the facts in the present case because the Defendant’s involvement was set forth

 in the PSR and as pointed out the government made no commitment not to seek enhancement.

         The court has reviewed the balance of the cases cited by the Plaintiff and find that non are

 on point.


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         Any argument that the Defendant’s attorney would have made contending that the

 government had breached its agreement would have been meritless. It cannot be ineffective

 assistance not to raise a meritless argument. Larson v. U.S. 905 F.2d 218, 219 (C.A.8

 (Minn.),1990). United States v. Kimler, 167 F.3d 889, 893 (5th Cir.1999) (“An attorney's failure

 to raise a meritless argument .. cannot form the basis of a successful ineffective assistance of

 counsel claim because the result of the proceeding would not have been different had the attorney

 raised the issue.”).

 C. Evidentiary Hearing

         Finally, Petitioner does not state grounds sufficient to require an evidentiary hearing. An

 evidentiary hearing on a § 2255 motion must be granted unless the motion, files and records of

 the case establish conclusively that the petitioner is not entitled to relief. Kingsberry v.United

 States, 202 F.3d 1030, 1032 (8th Cir. 2000) A § 2255 motion can be dismissed without a

 hearing if (1) the petitioner's allegations, accepted as true, would not entitle the petitioner to

 relief, or (2) the allegations cannot be accepted as true because they are contradicted by the

 record, inherently incredible or conclusions rather than statements of fact. Delgado v. United

 States, 162 F.3d 981, 983 (8th Cir.1998). “There is no requirement of a hearing where the claim

 [s] [are] based solely on vague, conclusory, or palpably incredible allegations or unsupported

 generalizations.” Amos v. Minnesota, 849 F.2d 1070, 1072 (8th Cir.), cert. denied, 488 U.S. 861,

 109 S.Ct. 159, 102 L.Ed.2d 130 (1988).

         It is clear from the record before the court that the government did not breach the Plea

 Agreement. See, United States v. Kramer, 12 F.3d 130 (8th Cir. 1993)( “[I]n determining

 whether the government has fulfilled its obligations under a plea agreement, we look to the


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 agreement's provisions.” Id. at 131).

                                         III. Conclusion

        Based upon the forgoing I recommend that the instant motion, filed under 28 U.S.C.

 §2255 be dismissed with prejudice.

        The parties have fourteen days from receipt of this report and recommendation in

 which to file written objections pursuant to 28 U.S.C. Section 636(b)(1). The failure to file

 timely written objections may result in waiver of the right to appeal questions of fact. The

 parties are reminded that objections must be both timely and specific to trigger de novo

 review by the district court.



        Dated this 14th day of October 2011.




                                               /s/ J. Marschewski
                                               HONORABLE JAMES R. MARSCHEWSKI
                                               CHIEF U. S. MAGISTRATE JUDGE




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